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 1 Christopher D. Thomas (010482)
     Andrea J. Driggs (023633)
 2
     Perkins Coie LLP
 3   2901 North Central Avenue, Suite 2000
     Phoenix, Arizona 85012-2788
 4   Telephone: 602.351.8000
 5   Facsimile: 602.648.7000
     cthomas@perkinscoie.com
 6   adriggs@perkinscoie.com
     DocketPHX@perkinscoie.com
 7

 8 CHARLES D. SWIFT, TX Bar No. 24091964
     Pro Hac Vice pending
 9 Constitutional Law Center for Muslims in America

10 100 North Central Expressway, Suite 1010
     Richardson, Texas 75080
11 Telephone: 972.914.2507
     Facsimile: 972.692.7454
12
     cswift@clcma.org
13
     Attorneys for Petitioner Jamil Al-Amin
14
                               UNITED STATES DISTRICT COURT
15
                                    DISTRICT OF ARIZONA
16

17    Jamil Al-Amin,                                   No. CV-21-00200-TUC-JCH (MSA)

18                        Petitioner,
19                                                     SECOND AMENDED PETITION
            v.
20
     Danon Colbert, Acting Warden, USP Tucson,
21   and Jane Doe, USP Tucson Supervisor for
     Prison Transfers
22
                          Respondents.
23

24
            Petitioner Jamil Abdullah Al-Amin (“Imam Jamil”), through undersigned counsel,
25
      submits his Second Amended Petition for declaratory judgement and relief pursuant to 28
26
      U.S.C. §§ 1331, 2241, 2254; the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202;
27
      and the Religious Freedom Restoration Act, 42 U.S.C. § 2000bb-1(c), and alleges:
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 1                               PROCEDURAL BACKGROUND
 2          1.     This action was originally initiated pro se by Imam Jamil, a 78-year-old
 3   Muslim Imam who is confined in the United States Penitentiary in Tucson, Arizona (USP-
 4   Tucson). Imam Jamil, incarcerated pursuant to a State of Georgia conviction, filed his pro
 5   se Petition for Writ of Habeas Corpus pursuant to 28 U.S.C. § 2254 and also referenced
 6   28 U.S.C. § 2241 as a basis for relief. He filed an Amended Petition (Doc. 10) on August
 7   23, 2021, and a brief in support thereof (Doc. 15) on November 12, 2021.
 8          2.     Imam Jamil’s original and amended petitions noted that he suffers from an
 9   enhanced risk of COVID-19 because of many ailments that he has including cataracts,
10   mobility issues, multiple myeloma, sicca syndrome, cryoglobulinemia, aortic aneurism
11   without rupture, enlarged prostate with lower urinary tract symptoms, urinary
12   incontinence, abnormal tumor marks, colitis, enteritis, gastroenteritis, and history of
13   hepatitis B, and hypertension. Imam Jamil sincerely believes that taking the COVID-19
14   vaccine, which is not halal, would violate his core religious beliefs.
15          3.     On December 10, 2021, the Court concluded that Imam Jamil had plausibly
16   alleged a basis for habeas corpus relief and ordered Respondent to Answer the Amended
17   Petition. Respondent did so on January 24, 2022 (Doc. 27). In the meantime, on January
18   18, 2022, Georgia custodian Timothy Ward had sought leave to intervene (Doc. 25).
19          4.     After undersigned counsel appeared on March 1, 2022 (Doc. 29), the Court
20   issued its Order (Doc. 30) that petitioner indicate whether it intended to file a second
21   amended petition and whether it opposed Georgia’s motion for leave to intervene.
22   Counsel indicated its intent to do so on March 25 (Doc. 31), at the same time noting it did
23   not oppose intervention but that it was likely moot.
24          5.     In this Second Amended Petition, Imam Jamil withdraws his request for
25   release in favor of a request for a change in custody to minimize the risk posed to his
26   health by the COVID-19 pandemic. As the Court’s Order noted, the federal government
27   maintains other facilities — also far closer to Imam Jamil’s Georgia home — that also
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 1   would provide greater protection from COVID than has been the case historically at USP-
 2   Tucson. This Second Amended Petition also asserts claims based upon the retaliation
 3   against Imam Jamil following the Court’s Order that Respondents answer the Amended
 4   Petition.
 5                                            PARTIES
 6          6.      Petitioner Imam Jamil is an inmate in the custody of the Bureau of Prisons.
 7   He is currently housed at USP Tucson.
 8          7.      Respondent Danon Colbert is the Acting Warden of FCI Tucson.
 9   Respondent Jane Doe is the FCI Tucson’s Supervisor for Prison Transfers. Respondents
10   are sued in their individual and official capacities, as appropriate to each ground.
11                                 JURISDICTION AND VENUE
12          8.      This Court has jurisdiction over this matter for Ground A (habeas conditions
13   of confinement for state prisoner for which there is an absence of available State
14   corrective process) under 28 U.S.C. § 2254.
15          9.      This Court has jurisdiction over Ground B pursuant to Bivens.
16          10.     In the alternative, this Court has jurisdiction over Ground C (habeas
17   conditions of confinement) under 28 U.S.C. § 2241.
18          11.     This Court has jurisdiction for Ground 4 under the Religious Freedom
19   Restoration Act of 1993 (RFRA), 42 U.S.C. § 2000bb-1(c).
20          12.     This Court has jurisdiction under 28 U.S.C. § 1331 for all grounds.
21          13.     This Court has the authority to grant declaratory relief pursuant to the
22   Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202 and the RFRA, 42 U.S.C. §
23   2000bb-1(c).
24          14.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2) because a substantial
25   part of the events or omissions giving rise to Petitioner’s claims occurred in this judicial
26   district. Venue is also proper in the United States District Court for the District of
27   Arizona, which is the judicial district where Petitioner is currently in custody. Braden v.
28   30th Jud. Cir. Ct., 410 U.S. 484, 493–500 (1973).

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 1                                   STATEMENT OF FACTS
 2          15.    The Centers for Disease Control and Prevention (CDC) determined that
 3   COVID-19 spreads mainly through person-to-person contact.
 4          16.    Person-to-person contact occurs between persons in close contact — about 6
 5   feet — with one another, through respiratory droplets produced when an infected person
 6   coughs or sneezes.
 7          17.    The droplets land in the mouth or nose or are inhaled into the lungs of
 8   people who are within about 6 feet of the infected person.
 9          18.    COVID-19 can survive up to three days on various surfaces.
10   COVID-19 is highly contagious and has a mortality rate ten times greater than influenza.
11   People infected with the coronavirus can be asymptomatic during the two-to-fourteen-day
12   COVID-19 incubation period. During that asymptomatic incubation period, infected
13   people are, unknowingly, capable of spreading COVID-19.
14          19.    The CDC identifies that, “older adults are more likely to get very sick from
15   COVID-19. Getting “very sick” means that older adults with COVID-19 might need
16   hospitalization, intensive care, or a ventilator to help them breathe. Older adults are also at
17   higher risk of death from COVID-19. The risk increases for people in their 50s and
18   increases exponentially for people in their 60s, 70s, and 80s. 1
19          20.    Petitioner suffers from multiple myeloma cancer and immunodeficiencies.
20   The CDC states that these specific medical conditions put individuals at a higher risk of
21   developing severe illness with COVID-19. 2
22          21.    Petitioner also suffers from significant vision impairment. The CDC states
23   that this type of disability may make an individual more likely to get very sick from
24   COVID-19 (including because of difficulties living in congregate settings).
25          22.    Petitioner is at particular risk because he is 78 years old and suffers from:
26

27
     1
      https://www.cdc.gov/aging/covid19/covid19-older-adults.html
     2
      https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
28   medical-conditions.html#:~:text=Cancer,cancer%20may%20increase%20your%20risk.

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 1                 a.     multiple myeloma cancer;
 2                 b.     Sjogren syndrome;
 3                 c.      Leukopenia;
 4                 d.      cryoglobulinemia, a decreased white blood cell count;
 5                 e.      monoclonal gammopathy; and
 6                 f.     Hepatitis-B.
 7          23.    Petitioner is at additional risk of severe illness or death from COVID-19
 8   because he cannot be vaccinated due to his sincerely held religious beliefs
 9          24.    USP- Tucson presents a heightened risk to Petitioner because it remains one
10   of the BOP facilities with active COVID-19 cases among prison staff and inmates.
11          25.    USP-Tucson is listed as a “Level 2” facility reflecting “moderate
12   modification” of operational levels and programs due to the risk of COVID-19 in the
13   facility, although the published data was viewed with some skepticism by the Court itself
14   in its December 10 Order.
15                                              Reprisal
16          26.    There is likewise ample evidence that USP-Tucson is particularly ill-suited
17   to care for Imam Jamil. He was previously obliged to file suit against USP-Tucson after
18   the facility’s refusal to address his deteriorating eyesight left him functionally blind in
19   both eyes. See Al-Amin v. Warden Catricia Howard, Complaint, Doc. 1, No. 4:21-cv-
20   00120 (D. Ariz. Mar. 19, 2021). Ironically, Respondent asserted in that case that it was
21   unable to schedule necessary cataract surgery because of covid risks associated with USP-
22   Tucson.
23          27.    More disturbing, shortly after the Court issued its December 10, 2021 Order,
24   Officers came to Imam Jamil’s cell late at night and told him to take all of his belongings
25   because he was going into quarantine. There were no indications that he had been
26   exposed to COVID-19, and he had not tested positive for the virus.
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 1          28.    He was then taken to a unit in the prison that had not been used for an
 2   extended period. The unit was filthy, and the floor was covered with dead, decomposing
 3   insects. For fourteen days, Imam Jamil remained housed in this unit, denied access to
 4   phone calls and mail and served meals cold. There was no socializing while in quarantine
 5   as Petitioner was denied all forms of social interaction available to him in his normal cell.
 6          29. Making matter worse, the prison then brought to the same unit for quarantine
 7   other inmates who had contracted the virus. That is, Respondents deliberately housed an
 8   unvaccinated 78-year-old with no indication of COVID in a disused unit into which
 9   COVID-positive inmates were later added.
10          30.    Imam Jamil cannot escape the risk of infection because staff enter prisoners’
11   atmosphere daily, prisoners are confined in close quarters, and it would be prohibitively
12   expensive and time consuming to retrofit prison to meet social distancing requirements.
13     Petitioner has exhausted administrative remedies and further attempts are futile
14          31.    Imam Jamil has satisfied any obligation to exhaust administrative remedies.
15   On November 4, 2021, he sent through counsel a letter to the Warden and USAO for the
16   District of Arizona requesting to be transferred from USP Tucson to USP Atlanta, FCI
17   Jesup, FCI Coleman Medium, or FCI Marianna pursuant to 18 U.S.C. § 3621(b). He also
18   requested that he be transferred to a medium security facility.
19          32.    On November 3, 2021 Imam Jamil himself filed an “Inmate Request” to be
20   released on compassionate release.
21          33.    Imam Jamil and his counsel have made multiple requests for release and for
22   prison transfers; the prison has ignored all of them to date.
23          34.    Imam Jamil’s request is ripe for decision, as further attempts within the
24   prison’s administrative process would be futile. See Helling v. McKinney, 509 U.S. 25,
25   33, (1993) (stating a prison inmate should be able to “complain about demonstrably
26   unsafe drinking water without waiting for an attack of dysentery” and a “remedy for
27   unsafe conditions need not await a tragic event[.]”)
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 1                              GROUNDS/CAUSES OF ACTION
 2          A.     Petitioner Is Subject To Unconstitutional Conditions of Confinement In
 3                 Violation Of The Eighth Amendment To The U.S. Constitution And Is
                   Entitled To Relief Under 28 U.S.C. § 2254(b)(1)(B)(i).
 4

 5          35.    Imam Jamil incorporates every allegation contained above.

 6          36.    Imam Jamil is confined based on state court proceedings and held in federal

 7   custody.

 8          37.    This Court has jurisdiction over this claim under 28 U.S.C. §

 9   2254(b)(1)(B)(i), which states that an application for a writ of habeas corpus of a state

10   prisoner shall not be granted unless, “there is an absence of available State corrective

11   process.”

12          38.    Petitioner’s unique status has provided him with no process or alternative to

13   challenge the Eighth Amendment violations of his custody.

14          39.    Petitioner has made multiple requests for release and for transfer to more

15   appropriate facilities, Respondent has not addressed these requests. No other process is

16   available.

17          40.    Under the Eighth Amendment, individuals in prison have the right to be free

18   from cruel and unusual punishment. The government has the responsibility of protecting

19   incarcerated people from the substantial risk of serious harm to their health and safety. See

20   Farmer v. Brennan, 511 U.S. 825, 828 (1994). Specifically, the government has an

21   “obligation to provide medical care for those whom it is punishing by incarceration” and

22   the failure to meet that obligation can be an Eighth Amendment violation. Estelle v.

23   Gamble, 429 U.S. 97, 103–105 (1976).

24          41.    While the Constitution “does not mandate comfortable prisons,” it does

25   mandate humane ones. See Rhodes v. Chapman, 452 U.S. 337, 349 (1981). Under the

26   Eighth Amendment, prison officials “must provide humane conditions of confinement

27   [and] . . . must ensure that inmates receive adequate food, clothing, shelter, and medical

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 1   care and must “take reasonable measures to guarantee the safety of the inmates[.]”
 2   Farmer, 511 U.S. at 832 (citing Hudson v. Palmer, 468 U.S. 517, 526–527 (1984)).
 3          42.     A prisoner can establish an Eighth Amendment violation by showing that he
 4   or she has a serious medical need and that there was a deliberate indifference to this need.
 5   Estelle, 429 U.S. at 103–105.
 6          43.     The Supreme Court has recognized, “[t]hat the Eighth Amendment protects
 7   against future harm to inmates is not a novel proposition.” Helling v. McKinney, 509 U.S.
 8   25, 33, (1993). Helling “squarely rejected” the proposition that “only deliberate
 9   indifference to current serious health problems of inmates is actionable under the Eighth
10   Amendment.” Parsons v. Ryan, 754 F.3d 657, 676–77 (9th Cir. 2014) (citation omitted).
11          44.     Respondent’s deliberate indifference to the risk posed by COVID-19 to the
12   Petitioner constitutes an Eighth Amendment violation. Respondents continue to house
13   Petitioner in conditions that increase his risk for contracting COVID-19 and developing
14   serious illness.
15          45.     Transfer to a Level 1 facility with a higher rate of vaccinated prisoners
16   significantly reduces the risk of Petitioner contracting COVID-19. Further, transferring to
17   such a facility increases the likelihood of effective care should he contract COVID-19.
18          B.      Petitioner Is Subject To Unconstitutional Conditions In Violation Of
19                  The Eighth Amendment To The U.S. Constitution And Is Entitled To
                    Relief Under Bivens
20

21          46.     Petitioner incorporates every allegation above.

22          47.     In the alternative to Ground 1, Imam Jamil seeks declaratory judgement and

23   relief against Respondents in their individual capacity pursuant to Bivens v. Six Unknown

24   Agents.

25          48.     Under the Eighth Amendment, individuals in prison have the right to be free

26   from cruel and unusual punishment. The government has the responsibility of protecting

27   incarcerated people from the substantial risk of serious harm to their health and safety. See

28   Farmer v. Brennan, 511 U.S. 825, 828 (1994). Specifically, the government has an

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 1   “obligation to provide medical care for those whom it is punishing by incarceration” and
 2   the failure to meet that obligation can be an Eighth Amendment violation. Estelle v.
 3   Gamble, 429 U.S. 97, 103–105 (1976).
 4          49.     Under the Eighth Amendment, prison officials “must provide humane
 5   conditions of confinement [and] . . . must ensure that inmates receive adequate food,
 6   clothing, shelter and medical care, and must “take reasonable measures to guarantee the
 7   safety of the inmates[.]” Farmer, 511 U.S. at 832 (citing Hudson v. Palmer, 468 U.S. 517,
 8   526–527 (1984)).
 9          50.     A prisoner can establish an Eighth Amendment violation by showing that he
10   or she has a serious medical need and that there was a deliberate indifference to this need.
11   Estelle, 429 U.S. at 103–105.
12          51.     The Supreme Court has recognized, “[t]hat the Eighth Amendment protects
13   against future harm to inmates is not a novel proposition.” Helling v. McKinney, 509 U.S.
14   25, 33, (1993).
15          52.     Respondent’s deliberate indifference to the risk posed by COVID to the
16   Petitioner constitutes an Eighth Amendment violation. Respondent continue to house
17   Petitioner in conditions that increase his frisk for contracting COVID and developing
18   serious illness.
19          53.     Transfer to a Level 1 facility with a high rate of vaccinated prisoners
20   significantly reduces the risk of Petitioner contracting COVID. Further, transferring to
21   such a facility increases the likelihood of effective care should he contract COVID-19.
22          C.      Petitioner Is Subject To Unconstitutional Conditions In Violation Of
23                  The Eighth Amendment To The U.S. Constitution And Is Entitled To A
                    Writ of Habeas Corpus Pursuant to 28 U.S.C. § 2241.
24

25          54.     Petitioner incorporates every allegation made above.

26          55.     In the alternative, this Court has jurisdiction over Petitioner’s habeas corpus

27   claim because the Supreme Court has not excluded such claims from the province of

28   habeas corpus. See Boumediene v. Bush, 553 U.S. 723, 792 (2008) (The Supreme Court

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 1    declining to determine “the reach of the writ with respect to claims of unlawful conditions
 2    of treatment or confinement”); Bell v. Wolfish, 441 U.S. 520, 526, n.6 (1979) (leaving for
 3    “another day the question of the propriety of using a writ of habeas corpus to obtain
 4    review of the conditions of confinement”).
 5           56.     Under the Eighth Amendment, individuals in prison have the right to be free
 6    from cruel and unusual punishment. The government has the responsibility of protecting
 7    incarcerated people from the substantial risk of serious harm to their health and safety. See
 8    Farmer v. Brennan, 511 U.S. 825, 828 (1994). Specifically, the government has an
 9    “obligation to provide medical care for those whom it is punishing by incarceration” and
10    the failure to meet that obligation can be an Eighth Amendment violation. Estelle v.
11    Gamble, 429 U.S. 97, 103–105 (1976).
12           57.     While the Constitution “does not mandate comfortable prisons,” it does
13    mandate humane ones. See Rhodes v. Chapman, 452 U.S. 337, 349 (1981). Under the
14    Eighth Amendment, prison officials “must provide humane conditions of confinement
15    [and] . . . must ensure that inmates receive adequate food, clothing, shelter and medical
16    care, and must “take reasonable measures to guarantee the safety of the inmates[.]”
17    Farmer, 511 U.S. at 832 (citing Hudson v. Palmer, 468 U.S. 517, 526–527 (1984)).
18           58.     A prisoner can establish an Eighth Amendment violation by showing that he
19    or she has a serious medical need and that there was a deliberate indifference to this need.
20    Estelle, 429 U.S. at 103–105.
21           59.     Respondent’s deliberate indifference to the risk posed by COVID to the
22    Petitioner constitutes an Eighth Amendment violation. Respondent continue to house
23    Petitioner in conditions that increase his frisk for contracting COVID and developing
24    serious illness.
25           60.     Transfer to a Level 1 facility with a high rate of vaccinated prisoners
26    significantly reduces the risk of Petitioner contracting COVID. Further, transferring to
27    such a facility increases the likelihood of effective care should he contract COVID-19.
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 1           D.     Retaliation in Violation of Plaintiff’s Fifth Amendment Rights
 2           61.    Petitioner incorporates every allegation contained in the paragraphs above.
 3           62.    On December 10, 2021, this Court ordered Respondent to answer
 4    Petitioner’s Amended Complaint noting that Petitioner had plausibly alleged a basis for
 5    habeas corpus relief.
 6           63.    Shortly after this Order was filed, Respondent removed Petitioner from his
 7    cell and took him to an unused unit that was unsanitary and filled with dead bugs.
 8           64.    Petitioner had not contracted COVID-19 and did not test positive, but was
 9    kept in isolation in this unit for fourteen days. During that time, other inmates who had
10    contracted the COVID-19 virus were also brought to Petitioner’s unit, thus increasing
11    Petitioner’s risk and exposure to the virus.
12           65.    Petitioner was not allowed to socialize, meals were brought cold, and he was
13    not able to communicate with his family or receive letters.
14           66.    By filing a Petition and an Amended Petition for habeas corpus relief
15    against dangerous COVID-19 prison conditions, Petitioner repeatedly and validly
16    exercised his right to due process under the Fifth Amendment. Respondent reacted to
17    Petitioner’s Amended Complaint and the Court’s requirement that Respondent answer the
18    Complaint by placing Petitioner in a fourteen-day isolation in unsanitary and potentially
19    dangerous conditions. In doing that, Respondent forced Petitioner to choose between his
20    Fifth Amendment right to pursue his Complaint and his interest in his health and life.
21    Respondent knowingly, intentionally, and unlawfully retaliated against Petitioner for the
22    exercise of his constitutional rights.
23           67.    Respondents, acting in their official capacity and under color of authority,
24    were responsible for implementing or supervising Petitioner’s fourteen-day isolation in an
25    unlawful retaliation against Petitioner for exercising his constitutionally protected rights,
26    in violation of the Fifth Amendment to the United States Constitution.
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 1           68.     Petitioner remains in USP-Tucson and intends to continue exercising his
 2    right to due process by pursuing this action for relief.
 3           69.     Absent relief, Petitioner believes he will suffer additional retaliatory
 4    placement in dangerous and unsanitary isolation.
 5           70.     Respondent’s unlawful actions imposed an immediate harm to Petitioner
 6    and have caused Petitioner deprivation of his constitutional rights and emotional distress.
 7           E.      Violation of the Religious Freedom Restoration Act (RFRA)
 8           71.     Imam Jamil incorporates by reference each allegation contained in the
 9    paragraphs above.
10           72.     Imam Jamil sincerely believes that taking the COVID-19 vaccine would
11    violate his core religious beliefs because it contains porcine and/or fetal products which
12    are not halal (not permissible under Islamic dietary restrictions). This is a fundamental and
13    important tenet of his religious beliefs because restrictions in Islamic diet (non-halal
14    substances) are understood to be a divine obligatory prescription for all Muslims.
15           73.     Respondent’s facility places Imam Jamil at risk of severe illness or death
16    because of its Level 2 status and lack of appropriate medical facilities, as well as
17    Petitioner’s serious medical conditions, age, and unvaccinated status. There are other
18    facilities rated at Level 1 for COVID-19.
19           74.     Respondents force Imam Jamil into an impermissible choice between, on
20    the one hand, obeying his sincerely held religious belief and being subjected to constant
21    risk to his health and life at a high-risk facility, or, on the other hand, violating his
22    sincerely held religious beliefs in order to be safe. By forcing Petitioner into this
23    impermissible choice between his sincerely held religious belief and the threat of serious
24    illness or death from COVID-19, as well as the threat of retaliation, Respondents place a
25    substantial burden on Plaintiff’s exercise of his sincerely held religious beliefs in violation
26    of RFRA, 42 U.S.C. § 2000bb-1(a).
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 1              75.   Respondent and the United States government have no compelling interest
 2    in requiring Petitioner to remain in a higher risk facility with limited access to medical
 3    care. (Requiring Plaintiffs to inform on their religious communities is not the least
 4    restrictive means of furthering any compelling governmental interest).
 5              76.   By keeping Imam Jamil at USP-Tucson as an elderly, unvaccinated person
 6    with multiple risk factors for COVID-19 and resorting to retaliatory use of isolation to
 7    deter Petitioner from pursuing this action, Respondents substantially burdened Petitioner’s
 8    sincerely held religious belief in violation of RFRA.
 9              77.   Imam Jamil’s refusal to receive the COVID-19 vaccine for sincerely held
10    religious reasons does not relieve Respondents’ responsibility to provide the safest
11    available conditions of confinement for Petitioner.
12              78.   Respondents’ actions create an immediate and ongoing risk of serious harm
13    to Petitioner and have caused him emotional distress and deprivation of his constitutional
14    rights.
15                                      PRAYER FOR RELIEF
16              WHEREFORE, Petitioner Imam Jamil prays that this Court grant the following
17    relief:
18              1.    Assume jurisdiction over this matter;
19              2.    Issue a declaratory judgment and preliminary injunction ordering Respondent
20    to transfer Petitioner to a Level 1 COVID prison with a medical facility (Level 4);
21              3.     In the alternative, issue Petitioner a writ of habeas corpus ordering
22    Respondent to transfer Petitioner to a Level 1 COVID prison with a medical facility (Level
23    4).
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     Case 4:21-cv-00200-JCH-MSA Document 32 Filed 04/25/22 Page 14 of 15



 1         Dated: April 25, 2022          PERKINS COIE LLP
 2

 3                                        By: /s/ Christopher D. Thomas
                                              Christopher D. Thomas
 4                                            Andrea J. Driggs
                                              2901 North Central Avenue, Suite 2000
 5
                                              Phoenix, Arizona 85012-2788
 6
                                          CHARLES D. SWIFT
 7                                        Constitutional Law Center for
 8
                                          Muslims in America
                                          100 North Central Expressway, Suite 1010
 9                                        Richardson, Texas 75080
10                                        Attorneys for Petitioner
11

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 1                                   CERTIFICATE OF SERVICE
 2             I hereby certify that on April 25, 2022, I electronically transmitted the attached
 3    document to the Clerk’s Office using CM/ECF System for filing and transmittal of a
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 5
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 6             Assistant United States Attorney
               United States Attorneys’ Office
 7             United States Courthouse
 8             405 West Congress Street, Suite 4800
               Tucson, AZ 85701
 9             Michael.linton@usdoj.gov
10             Attorneys for Respondents
11             Paula K. Smith
12             Senior Assistant Attorney General
               Georgia Department of Law
13             40 Capital Square SW
               Atlanta, GA 30334
14
               psmith@law.ga.gov
15
               Attorney for Intervenor, Timothy Ward
16

17

18    /s/ Shawne Murphy
      156714826.1
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